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                          IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NORTH DAKOTA



Timothy Charles Holmseth
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       v.
                                                    Case No.: 3:16-cv-303
City of Grand Forks/Grand Forks Police
Department et al




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